          B1040 (FORM 1040) (12/15)

           ADVERSARY PROCEEDING COVER SHEET                                                             ADVERSARY PROCEEDING NUMBER
                                                                                                        (Court Use Only)
PLAINTIFFS                                                                               DEFENDANTS
Jason Brubacher, on behalf of the bankruptcy estate of Angelia                           American Bank & Trust of the Cumberlands
Nichole Shockley via derivative standing
ATTORNEYS (Firm Name, Address, and Telephone No.)                                 ATTORNEYS (If Known)
Dunham Hildebrand, PLLC                                                           Rubin Lublin, LLC
2416 21st Ave S., Ste 303, Nashville, TN 37212                                    3145 Avalon Ridge Place, Ste 100, Peachtree Corners, GA 30071
Telephone No. 629 777-6519                                                        Telephone No. 770-246-3300
PARTY (Check One Box Only)                                                        PARTY (Check One Box Only)
□ Debtor                □ U.S. Trustee/Bankruptcy Admin                           □ Debtor              □ U.S. Trustee/Bankruptcy Admin
□ Creditor              X Other – Creditor, via derivative standing               □ Creditor            X Other –Third-Party Transferee
□ Trustee                                                                         □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Creditor, with derivative standing, brings this cause of action to set aside and recover fraudulent transfers, to recover money on behalf of the bankruptcy estate
and for related relief. U.S. Statutes involved: 11 U.S.C. §§ 542; 544; 548; and 550.
                                                                NATURE OF SUIT
          (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)
      FRBP 7001(1) – Recovery of Money/Property                                               FRBP 7001(6) – Dischargeability (continued)
[2] 11-Recovery of money/property - §542 turnover of property                             □ 61-Dischargeability - §523(a)(5), domestic support
□   12-Recovery of money/property - §547 preference                                       □ 68-Dischargeability - §523(a)(6), willful and malicious injury
[1]    13-Recovery of money/property - §548 fraudulent transfer                           □ 63-Dischargeability - §523(a)(8), student loan
[3]    14-Recovery of money/property - other                                              □ 64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                                (other than domestic support)
                                                                                          □ 65-Dischargeability - other
FRBP 7001(2) – Validity, Priority or Extent of Lien                                       FRBP 7001(7) – Injunctive Relief
□ 21-Validity, priority or extent of lie n or other interest in property                  □ 71 – Injunctive relief – imposition of stay
                                                                                          [] 72 – Injunctive relief - other
FRBP 7001(3) – Approval of Sale of Property
□ 31-Approval of sale of property of estate and of a co-owner - §363(h)
FRBP 7001(4) – Objection/Revocation of Discharge                                              FRBP 7001(8) Subordination of Claim or Interest
□ 41-Objection / revocation of discharge - §727(c),(d),(e)                                    □ 81-Subordination of claim or interest
FRBP 7001(5) – Revocation of Confirmation                                                     FRBP 7001(9) Declaratory Judgment
□ 51-Revocation of confirmation                                                               □ 91-Declaratory judgment
FRBP 7001(6) – Dischargeability                                                               FRBP 7001(10) Determination of Removed Action
□     66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims                         □ 01-Determination of removed claim or cause
□     62-Dischargeability - §523(a)(2), false pretenses, false representation, actual fraud     Other
□     67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny             □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                        (continued next column)                                               [4] 02-Other (e.g. other actions that would have been brought in state court
                                                                                                  if unrelated to bankruptcy case)
X Check if this case involves a substantive issue of state law □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint               Demand $ TBD (seeking avoidance of transfer to mediate transferee)
                              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                                                                 BANKRUPTCY CASE NO.
Angelia Nichole Shockley                                                                       19-00138
DISTRICT IN WHICH CASE IS PENDING                                                              DIVISION OFFICE                               NAME OF JUDGE
Middle District of Tennessee                                                                   Cookeville                                    HARRISON
                                                           RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF: Jason Brubacher                                       DEFENDANT: Angelia Nichole Shockley;                         ADVERSARY PROCEEDING NO.
                                                                 Randal Risher                                                2:19-ap-90110
DISTRICT IN WHICH ADVERSARY IS PENDING: MDTN                                                   DIVISION OFFICE: Cookeville                   NAME OF JUDGE: Harrison
SIGNATURE OF ATTORNEY (OR PLAINTIFF) /s/ Gray Waldron
DATE                                                                                           PRINT NAME OF ATTORNEY (OR PLAINTIFF)
February 13, 2020                                                                              Gray Waldron

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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE

 IN RE:                                         )
                                                )        CHAPTER:        7
 ANGELIA NICHOLE SHOCKLEY.                      )        CASE NO.:       19-00138
     Debtor.                                    )        JUDGE:          HARRISON
                                                )
 JASON BRUBACHER, with derivative               )
 standing on behalf of the bankruptcy estate,   )        ADV. PROC. _____________
                                                )
       Plaintiff,                               )
                                                )
 v.                                             )
                                                )
 AMERICAN BANK & TRUST OF THE                   )
 CUMBERLANDS                                    )
                                                )
       Defendant.                               )


                                ADVERSARY COMPLAINT


        Jason Brubacher, (“Mr. Brubacher” or “Plaintiff”), by and through undersigned counsel, on
behalf of the bankruptcy estate of Debtor Angelia Nichole Shockley, in accordance with the Order
Granting Derivative Standing to Pursue Avoidance Actions entered on April 17, 2019 [Bankr. Docket
No. 25] (the “Derivative Standing Order”), files this action against Defendant, American Bank &
Trust of the Cumberlands (“ABT”) seeking (i) avoidance of the lien of ABT on certain real property
owned by the Debtor’s bankruptcy estate; or (ii) alternatively, a monetary judgment against ABT, as
a mediate transferee of a fraudulent transfer equal to the value of the property so transferred. The
Plaintiff’s federal grounds for these claims are 11 U.S.C. §§ 542, 544, 548 and 550; and supplemental
state grounds are Tenn. Code Ann. §§ 66-3-305, 66-3-306, and 66-3-308.            In support of this
Complaint, the Plaintiff states as follows:




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                                                    I.   PARTIES
           1.    Mr. Brubacher is a creditor of the Debtor and of an affiliated debtor (Lyfe Tea, LLC;
Debtor in Case No. 19-00137). Mr. Brubacher is authorized to prosecute this action on behalf of
the bankruptcy estate in accordance with the Derivative Standing Order.
           2.    ABT is a lender and secured creditor holding a consensual lien on the Real Property
(defined later herein) now owned by the Debtor’s bankruptcy estate. ABT may be served with
process through its Registered Agent, Marty Maynord, located at 808 West Main Street, Livingston,
TN 38570-1722.
                                        II. JURISDICTION & VENUE
           3.    Jurisdiction to entertain this proceeding is conferred upon this Court by 28 U.S.C. § 151
and § 157(b). Pursuant to 11 U.S.C. § 105(a), this Court may issue any order, process or judgment
necessary or appropriate to carry out the provisions of this title.
           4.    Venue to entertain this proceeding is properly laid with this Court pursuant to 28 U.S.C.
§ 1408 and § 1409(a).
       5.        This adversary proceeding constitutes a core proceeding within the meaning of 28 U.S.C.
§ 157(b).

                                         III. STATEMENT OF FACTS1
      A.    Pre-Bankruptcy
           6.    Years prior to the date of filing of this bankruptcy case, Mr. Brubacher and the Debtor,
Angelia Nichole Shockley (“Ms. Shockley”) were married and were also business partners in multiple
companies, including Lyfe Tea, LLC. Mr. Brubacher and Ms. Shockley divorced in May 2016.
           7.    As part of the divorce, Ms. Shockley was obligated and ordered to, inter alia: (i) pay the
parties’ joint federal income tax liability for tax year ending December 31, 2015; and (ii) with specific
reference to a separate agreement concerning the division of business ownership interests, pay Mr.




1
    Many of the facts set forth herein mirror the facts set forth in the Adversary Complaint filed as Docket No. 1 in the
related Adversary Proceeding filed in this bankruptcy case as Case No. 2:19-ap-90110. To avoid confusion, Mr.
Brubacher restates the probative facts for this Adversary Proceeding here.




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Brubacher $500,000.00 over sixty (60) months2 as compensation and consideration for his interest
in Lyfe Tea.
          8.    As part of the divorce, and in consideration of the obligations she acquired, including
but not limited to those obligations addressed above, Ms. Shockley was awarded, inter alia: (i)
ownership of 2088 Buffalo Valley Road, Cookeville, Tennessee 38501 (the “Real Property”); and
(ii) ownership in Lyfe Tea.
          9.    In conjunction with the divorce, Mr. Brubacher executed a Quitclaim Deed to Ms.
Shockley regarding the Real Property. At such time, Ms. Shockley became the sole owner of the
Real Property, in fee simple absolute.
          10.   On or about May 1, 2017, Ms. Shockley listed the Real Property for sale at a price of
$414,929.00.
          11.   On or about May 15, 2017, Ms. Shockley removed, or caused to be removed, the sales
listing for the Real Property.
          12.   At the time Ms. Shockley had the Real Property listed for sale, it had no mortgages and
no encumbrances.
          13.   On or about August 16, 2018, Ms. Shockley executed a Warranty Deed conveying her
interest in the Real Property to her then-boyfriend, Randal Risher (“Mr. Risher”).
          14.   The face of the Warranty Deed from Ms. Shockley to Mr. Risher indicates Ms. Shockley
received $10.00 as consideration for the transfer and, in the notary section of the deed, further states
that the “actual consideration or value, whichever is greater, for this transfer is $0.” [Ex. A, the
Warranty Deed].
          15.   At the time Ms. Shockley transferred the Real Property, the Real Property had a value
in excess of $400,000.00 and was not encumbered by any liens.
          16.   At the time Ms. Shockley transferred the Real Property, she owed the Plaintiff in excess
of $300,000.00, and she further owed the Internal Revenue Service in excess of $300,000.00.

2
    The terms of the agreement incorporated into the divorce are: $500,000 with 6% annual interest accruing as of
January 1, 2017, to be paid at $9,666.40 per month for 60 months beginning February 1, 2017 and the 1st day of each
month thereafter until paid in full.




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        17.   Ms. Shockley has testified that, even after the she transferred the Real Property, she
continued to reside in the Real Property.
        18.   Other than the approximate two (2) weeks the Real Property was listed on the market
through Skender-Newton Realty, the transfer of the Real Property was not marketed to any party other
than the transferee, Mr. Risher.
        19.   On November 28, 2018, approximately three months after Mr. Risher acquired the Real
Property from his insolvent girlfriend, Ms. Shockley, for no consideration, Mr. Risher obtained a loan
from ABT pursuant to that certain Consumer Real Estate Secured Balloon Note in the original
principal amount of $175,000.00 (the “Note”). [Claim No. 5]. The Note was secured on the Real
Property through that certain Deed of Trust (the “Deed of Trust”) executed by Mr. Risher in favor of
ABT. [Id.].
        20.   Following execution of the Note and recording of the Deed of Trust, ABT advanced the
full amount of the Note to Mr. Risher. As of the date of this Complaint, upon information and belief,
the balance of the Note is $179,667.56.
        21.   Upon information and belief, upon receiving these funds, Mr. Risher and Ms. Shockley
promptly spent the funds while both were insolvent.
        22.   Based on the plain language of the Warranty Deed, ABT had actual, constructive, and/or
inquiry notice that the transfer of the Real Property from Ms. Shockley to Mr. Risher, which occurred
approximately three months before ABT received an interest in the Real Property by and through the
Deed of Trust, was for no consideration.
        23.   Upon information and belief, ABT conducted no due diligence or other investigation to
determine (a) the solvency of Ms. Shockley at the time she executed the Warranty Deed, or (b) the
voidability of the transfer of the Real Property from Ms. Shockley to Mr. Risher at the time it received
its lien interest in the Real Property.




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   B.    Post-Bankruptcy
        24.   Ms. Shockley, individually (and also on behalf of Lyfe Tea, LLC), engaged bankruptcy
counsel and authorized the filing of the underlying Chapter 11 bankruptcy case on January 10, 2019
(the “Petition Date”).
        25.   Within the statements and schedules to the Petition, Ms. Shockley scheduled
outstanding debts to Mr. Brubacher in excess of $300,000 and the Internal Revenue Service in excess
of $400,000.00. [Bankr. Docket No. 1].
        26.   The Internal Revenue Service filed a Proof of Claim in the amount of $540,640.81, of
which $375,119.72 is attributable to priority tax debt due for tax period ending December 31, 2015.
[Claim No. 2].
        27.   The tax attributable to tax year 2015 is the same obligation addressed in the divorce, and
for which Ms. Shockley is required to pay as ordered therein.
        28.   The hundreds of thousands of dollars owed to both Mr. Brubacher and to the Internal
Revenue Service predated the transfer of the Real Property to Mr. Risher.
        29.   Ms. Shockley was acutely aware of the obligations to both Mr. Brubacher and to the
Internal Revenue Service as the time of the Real Property transfer to Mr. Risher.
   C. The First Adversary Proceeding
        30.   On June 6, 2019, Mr. Brubacher, on behalf of Ms. Shockley’s bankruptcy estate pursuant
to that certain Order Granting Motion for Derivative Standing to Pursue Avoidance Actions (Bankr.
Docket No. 25) (the “Derivative Standing Order”), filed an adversary proceeding against Ms.
Shockley and Mr. Risher, Case No. 2:19-bk-00138 (the “Risher Adversary Proceeding”) seeking an
order avoiding the transfer of the Real Property from Ms. Shockley to Mr. Risher pursuant to 11 U.S.C.
§§ 542, 544, 548, and 550 and Tenn. Code Ann. §§ 66-3-305, 306, and 308.
        31.   On January 24, 2020, this Court entered the Order Granting Default Judgment Against
Angelia Nichole Shockley and Randal Risher (Risher Adv. Docket No. 23) (the “Risher Order”),
which, among other things, divested title of the Real Property from Mr. Risher and in the name of Ms.




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Shockley for purposes of administration of the Real Property for the benefit of Ms. Shockley’s
bankruptcy estate.

                               PLAINTIFF’S CLAIM FOR RELIEF

               Recovery of Transferred Property from ABT as Mediate Transferee
                                  Pursuant to 11 U.S.C. § 550
        32.   The Plaintiff hereby restates and incorporates by reference all preceding paragraphs.
        33.   The Plaintiff, pursuant to the Derivative Standing Order and 11 U.S.C. § 544, has the
rights and powers of, or may avoid any transfer of property of the debtor that is voidable by, a judicial
lien creditor of the debtor as of the Petition Date.
        34.   By virtue of being the fiancé of Ms. Shockley, Mr. Risher is, and at all times relevant
was, an “insider” of Ms. Shockley as that term is defined in the Bankruptcy Code, the Tennessee Code,
and caselaw interpretations of “non-statutory insiders” therefrom.
        35.   Ms. Shockley transferred an interest in her property (namely, the Real Property) to Mr.
Risher without payment to her then existing creditors.
        36.   The Real Property transfer occurred on or about August 26, 2018; and, therefore, within
two (2) years of the Petition Date. [See Ex. A, the Warranty Deed].
        37.   As evidenced by her prior sworn testimony and statements, Ms. Shockley knew of the
existence of her unpaid debt to Plaintiff and her unpaid debt to the Internal Revenue Service, among
other debts, at the time of the transfer. [Bankr. Docket No. 1].
        38.   Ms. Shockley received less than a reasonably equivalent value from Mr. Risher in
exchange for the transfer of the Real Property.        Based on the face of the Warranty Deed, Ms.
Shockley received either $10 or no consideration for the transfer. [See Ex. A, the Warranty Deed].
        39.   No legitimate purpose for the Real Property transfer existed other than to hinder, delay
or defraud Ms. Shockley’s then existing creditors.
        40.   Ms. Shockley’s fraudulent intent is evidenced by the typical “badges of fraud” including,
but not limited to, (i) the transferee being her fiancé`; (ii) Ms. Shockley retaining possession of the
transferred asset; (iii) Ms. Shockley owed hundreds of thousands of dollars in delinquent obligations




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at the time of the transfer- namely, unpaid taxes to the IRS; (iv) the transfer was of Ms. Shockley’s
primary and most valuable asset; and (v) the amount of the proceeds from the transfer was
unreasonably small in relation to the value of the asset transferred.
        41.   Ms. Shockley knew that the transfer would (and did) cause her to not have the ability to
pay the Plaintiff or the outstanding 2015 tax obligations that were past due at the time of the transfer.
        42.   Ms. Shockley made the transfer with the actual intent to hinder delay or defraud Mr.
Brubacher.
        43.   Ms. Shockley was insolvent at the time of the Real Property transfer or became insolvent
as a result of the transfer. This is evidenced by, inter alia, the debt to Mr. Brubacher – acknowledged
by Ms. Shockley to be an undisputed amount of at least $325,000 – not being paid at the time of the
transfer and the remaining assets of Ms. Shockley post-transfer, being insufficient to pay her
outstanding debts. [See Bankr. Docket No. 1]. This is further evidenced by Ms. Shockley having
not paid her federal tax obligations corresponding to tax year ending December 31, 2015.
        44.   Ms. Shockley believed, or reasonably should have believed, that the transfer would (and
did) cause her to not have the ability to pay Mr. Brubacher or the outstanding 2015 tax obligations
that were past due at the time of the transfer.
        45.   The Real Property transfer from Ms. Shockley to Mr. Risher is avoidable and
recoverable by the bankruptcy estate pursuant to 11 U.S.C. §§ 544, 548, and 550.
        46.   Additionally, the Real Property transfer is avoidable and recoverable by the bankruptcy
estate pursuant to Tenn. Code. Ann. §§ 66-3-305, 66-3-306, and 66-3-308(a)(1).
        47.   On January 24, 2020, the Court entered the Risher Order, which (a) affirmatively
established that the transfer of the Real Property from Ms. Shockley to Mr. Risher was both an actually
fraudulent transfer and a constructively fraudulent transfer, (b) ordered that title to the Real Property
be divested from Mr. Risher and revested in the name of Ms. Shockley for administration for the
benefit of Ms. Shockley’s bankruptcy estate, and (c) ordered a judgment against Mr. Risher and Ms.
Shockley, jointly and severally, for $400,000.00, plus pre-judgment and post-judgment interest.




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        48.   As of the date of entry of the Risher Order, the Real Property remains encumbered by
ABT’s Deed of Trust.
        49.   11 U.S.C. § 550 provides that to the extent a transfer is avoided under 11 U.S.C. §§ 544
or 548, the trustee may recover, for the benefit of the estate, the property transferred, or the value of
such property, from the initial transferee of such transfer or “any immediate or mediate transferee of
such initial transferee,” unless the mediate transferee took the transferred property for value, in good
faith, and without knowledge of the voidability of the transfer avoided.
        50.   Tenn. Code Ann. § 66-3-309 provides that to the extent a transfer is voidable in an action
under Section 66-3-308(a)(1), the creditor may recover judgment for the value of the asset transferred
against (a) the initial transferee of such transfer, or (b) any subsequent transferee other than a good-
faith transferee or oblige who took for value or from any subsequent transferee or obligee.
        51.   Based on the plain language of the Warranty Deed and as further set forth herein, ABT
had either actual, constructive, or inquiry notice of the voidability of the transfer of the Real Property
from Ms. Shockley to Mr. Risher when it received the Deed of Trust on the Real Property and
otherwise did not accept such transfer in good faith.
        52.   The Deed of Trust constitutes a transfer of property that is avoidable and recoverable by
the bankruptcy estate pursuant to 11 U.S.C. § 550 and Tenn. Code Ann. § 66-3-309(b).
                                       PRAYER FOR RELIEF
    WHEREFORE, Mr. Brubacher having set forth the claims for relief against ABT respectfully
prays of the Court as follows:
        A.    An order binding upon ABT declaring that the transfer of the Real Property from Ms.
Shockley to Mr. Risher be set aside for the benefit of the bankruptcy estate, as already set forth and
memorialized in the Risher Order;
        B.    An order declaring that the Deed of Trust issued by Mr. Risher in favor of ABT be set
aside for the benefit of the bankruptcy estate, as ABT is a mediate transferee of an interest of Ms.
Shockley in the Real Property, by and through the Deed of Trust, that had actual, constructive, and/or




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inquiry notice of the voidability of the initial transfer of the Real Property to Mr. Risher and otherwise
did not accept such transfer in good faith.
        C.    Alternatively, an order declaring that Mr. Brubacher, on behalf of the bankruptcy estate,
is entitled to recover from ABT, as a mediate transferee of Mr. Risher, the value of the transfer in an
amount to be proven at trial, and not less than $175,000.00 or the value of the interest in the Real
Property so transferred at the time of the transfer, whichever is greater;
        D.    An Order granting Mr. Brubacher such other and further relief as the Court may deem
just and proper.


                                                Respectfully submitted,


                                                /s/ Gray Waldron
                                                HENRY E. (“Ned”) HILDEBRAND, IV
                                                GRAY WALDRON
                                                DUNHAM HILDEBRAND, PLLC
                                                2416 21st Avenue South, Suite 303
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                                                Counsel for Plaintiff




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                       Exhibit A




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